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 Elizabeth F. Rojas
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                             UNITED STATES BANKRUPTCY COURT
               CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEY DIVISION

     IN RE                                                CHAPTER 13
                                                          CASE NO. 1:22-bk-10113-MB
     Royce Mason
     Anosha Mason                                         TRUSTEE'S OBJECTION TO CONFIRMATION
                                                          OF PLAN; DECLARATION; NOTICE OF
                                                          POSSIBLE DISMISSAL OR CONVERSION

                                                          DATE/TIME: July 1, 2022 9:30 am
                                       DEBTORS            21041 Burbank Blvd.
                                                          Courtroom 303
                                                          Woodland Hills, CA 91367-1367


The Trustee objects to confirmation of the plan because all requirements for confirmation as set forth in Title
11 of the United States Code and the Rules have not been met.

The Trustee requests, should all requirements not be met, that confirmation of the plan be denied, the case
be dismissed or converted to Chapter 7 and for such other relief as the Court may deem appropriate.

THE FAILURE OF THE DEBTORS (OR THE ATTORNEY FOR THE DEBTORS) TO APPEAR AT THE
CONFIRMATION HEARING, OR TO FULLY COMPLY WITH ALL REQUIREMENTS FOR PLAN
CONFIRMATION, MAY RESULT IN DISMISSAL OR CONVERSION OF THE CASE.



DATED: June 06, 2022                                                          /s/ Elizabeth F. Rojas


       I, Elizabeth F. Rojas, declare as follows:

1.     I am the Trustee in this matter, Royce & Anosha Mason, 1:22 -bk-10113-MB, and I have personal
       knowledge of files and records kept by my office in the regular course of business. I have personally
       reviewed the files and records kept by my office in the within case. The following facts are true and
       correct and within my own personal knowledge and I could and would testify competently thereto if
       called upon to do so.

2.     I object to confirmation of the proposed plan because of the deficiencies set forth in the attached which
       is incorporated herein by reference. These deficiencies existed prior to or at the time of the
       11 USC §341(a) meeting in this matter.

       I declare under penalty of perjury that the foregoing is true and correct.

Executed at Sherman Oaks, California on June 06, 2022.                        /s/ Elizabeth F. Rojas
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I oppose plan confirmation because the Debtors have failed to:


         schedule debts within the limits of 11 USC §109(e); and therefore ineligible; and/or Debtors are
         not eligible to be Chapter 13 Debtors as follows:

         disclose [11 USC §521, LBR 1017-1(b)]
               assets      creditors   income              prior case


         serve all creditors using court mandated notice form with a copy of the plan pursuant to FRBPs
         2002(b), 7004 and LBR 3015-1(b)(3);

     X provide the Trustee documentation of all income (as well as any contributor's income) seven
         days before the §341(a) Meeting of Creditors. LBR 3015-1(c)(3), 11 USC § 521;
         - 2021 Tax Return (extension filed)
         - 2 months current/complete paystubs for debtorProvide all April, May and June paystubs
         with year-to-date information.
         - 2 months current/complete paystubs for joint debtor or non -filing spouseProvide all
         April, May and June paystubs with year-to-date information.

         meet the business reporting requirements regarding Debtors' business or self-employment, LBR
         3015-1(c)(4);

     X provide to the Trustee completed copies of the Federal and State income tax returns, 11 USC §§
         1308 and 521, LBR 3015-1(c)(3).
         - 2021 Tax Return (extension filed)

     X propose a plan that is feasible 11 USC § 1325(a)(6); the plan may be infeasible because
                      certain claims are not included and/or the amount provided is insufficient

Comparison of Filed Claims to Claims Stated in Plan :
Creditor                 Acct #           Class            Claim            Plan          Notes
IRS                      clm#14-1         1/P              $3,720           $3,275
Nelnet/Dept of Ed                         5/B                               $2,393        student loan
Nelnet/Dept of Ed                         5/B                               $2,352        student loan

                       income is not sufficient enough to fund it

                       plan payment will not retire debt within term

                    X the plan does not propose treatment and/or properly treat all scheduled, priority
                       and/or secured creditors; and/or plan deficiencies as follows:
                       - Amend Part 2, Section I.B. to state type of plan proposed.
                       - :Student Loan Discrimination:
                      Trustee objects to the direct payment of Student loans at $395 per month which
                      appears to result in a 100% payout to Student loans when unsecured creditors
                      receive a 19% distribution. The plan does not provide for a separate
                      classification. There is no basis for classifying the student loan claim in Class
                      3A or Class 5B. This appears to be an attempt to unfairly discriminate between
                      general unsecured creditors in violation of 11 USC 1322 (a)(3), (b)(1). Debtor has
                      not addressed the factors pursuant to In Re Sperna, 173 B.R. 654 (9th Cir. BAP
                      1994) that would be cause for discrimination and has not addressed the
                      incorrect classification of the claim.||


     X   propose a plan that represents the Debtors' best effort 11 USC §1322; 11 USC §1325
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               X unreasonable and/or unnecessary expenses are scheduled
                  - Provide evidence of the following expenses: $1,600 food, $1,100 education (4
                 year old daughter), $350 clothes, $225 personal care, $375 Med/dental, $395
                 Student loans, $532 (trips to Norway)
                  - Provide copy of car notes with payoff date: $311/mo car payment expensed
                 on schedule J - no car debt scheduled.
                  - Provide copy of annual auto insurance statement: provide premium page
                 listing dates and cars covered and annual amount ($165 sched)
                  the budget surplus exceeds the monthly plan payment

               X comply with the Means Test as required by the Code, In re Kagenveama, 541 F3d
                  868, and/or In re Lanning, 1330 S.Ct.2464
                  - Missing B22C/SCMI form


      propose a plan that provides creditors as much as would be received under Chapter 7
      11 USC §1325(a)(4).

   X other issues as stated below:
      - Address on BNC does not match petition ||
      - : $311/mo expensed on schedule J, nothing listed on Schedule D, G, or in plan ||
      - Amend Schedule I to disclose employment status: Debtor husband lost employment.
      - : No RARA filed.||
       - : File declaration regarding dates lived in California and Nevada in 2021. Debtors claim
      filed in California because intended to return; however if they resided in Nevada the
      majority of the time prior to filing, Nevada may be the proper jurisdiction.||
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 In Re: Royce Mason                                                                              Chapter 13
        Anosha Mason
                                                                                 Debtor(s)       Case Number: 1:22-bk-10113-MB


                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
15260 Ventura Blvd., Suite 710, Sherman Oaks, CA 91403


A true and correct copy of the foregoing document entitled: TRUSTEE'S OBJECTION TO CONFIRMATION OF PLAN;
DECLARATION; NOTICE OF POSSIBLE DISMISSAL OR CONVERSION will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005 -2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders
and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On 6/6/2022, I
checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are
on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

UNITED STATES TRUSTEE (SV): USTPREGION16.SV.ECF@USDOJ.GOV
BENJAMIN R HESTON: DOCS@HESTONLAW.COM

                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On 6/6/2022, I served the following persons and/or entities at the last known addresses in this bankruptcy case or adversary
proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
completed no later than 24 hours after the document is filed.

ROYCE MASON, ANOSHA MASON, 21825 ERWIN ST #1058, WOODLAND HILLS, CA 91367

                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL :
Pursuant to F.R.Civ.P.5 and/or controlling LBR, on 6/6/2022, I served the following persons and/or entities by personal
delivery, overnight mail service, or (for those who consented in writing to such service method ), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.


                                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


6/6/2022                       Roderick Mathieson                                               /s/ Roderick Mathieson
 Date                          Printed Name                                                       Signature




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

 June 2012
                                                                                                  F 9013-3.1.PROOF.SERVICE
